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DOJ: Informants Intimidated in Suit Against Alamance County Sheriff's Office
6:06 PM, Oct 1, 2013

BURLINGTON, N.C. -- There are new developments in the Department of Justice's case
__ against Alamance County Sheriff Terry Johnson.

 

You might remember last year, the federal Justice Department sued Sheriff Johnson
claiming the department unfairly targeted Latinos. Now the DOJ also believes their
informants in the case are being intimidated.

Read: Alamance Sheriff Accused Of Bias Towards Latinos
Read: Sheriffs Attorney Calls DOJ Findings Gossip

The claims are presented in a 13-page court filing that boils down to three main points.

They ail involved alleged intimidation of witnesses. First, the DOJ claims there was a threat
to a former sheriff's office employee, Second they claim a threat to deport an informant and
third they claim a patrol car was harassing a public critic of the sheriff.

Alamance County Attorney Clyde Albright denied all three claims while on the phone with 2
Wants To Know.

Let's detail the three main claims:

First, the FBI has recently opened a criminal investigation because of an alleged threat

made to a former sheriff's officer. The alleged threat came one week after the officer was
identified as a witness in the case. Albright says the FBI hasn't contacted him or the sherriff's
officer, so he doesn't know about the investigation or the alleged threat. But Albright says all
of this is probably a "DOJ mistake."

The DOJ also claims deputies threatened to "deport" another informant. Again, Albright said
there wasn't enough information to know what the DOJ was talking about.

The third claim is about someone named in court records only as a "public critic of Sheriff
Johnson." She testified a patrol car was parked outside her home for long periods of time.
This woman also says the county attorney intimidated her by trying to force her daughter's
school to seize the family's computer.

Albright says he thinks he knows who this critic is and she lived next to a deputy, so it would
make sense for a patrol car to be parked nearby. Albright adds the claims about trying to
seize the computer are probably part of a public records request he made to get evidence
for the case.

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All indications are the case is still developing. The county attorney says he and the sheriff
haven't even heard from the FBI. In the end, it's possible the FB! could bring criminal
charges as a result of the investigation. It's also possible agents don't find enough evidence
to charge anyone.

The FBI and the DOJ have not returned our calls asking how far along they are in the
investigation process.

 

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